Case: 21-60626 Document: 433-2 Page:1 Date Filed: 05/08/2024

United States Court of Appeals

for the

Hitth Circuit

Case No. 21-60626

ALLIANCE FOR FAIR BOARD RECRUITMENT, NATIONAL CENTER
FOR PUBLIC POLICY RESEARCH,

Petitioners,
V.
SECURITIES AND EXCHANGE COMMISSION,
Respondent.

ON PETITION FOR REVIEW OF AN ORDER OF THE UNITED STATES
SECURITIES AND EXCHANGE COMMISSION NO. 34-92590

BRIEF OF AMICUS CURIAE PROFESSOR JOSEPH A.
GRUNDFEST IN SUPPORT OF RESPONDENT SECURITIES
AND EXCHANGE COMMISSION

SUBMITTED UPON RE-HEARING EN BANC

STEVEN M. SHEPARD

SUSMAN GODFREY L.L.P.
Attorneys for Amicus Curiae
One Manhattan West

295 Ninth Avenue

New York, New York 10001
(212) 336-8330
sshepard@susmangodfrey.com

g COUNSEL PRESS (800) 4-APPEAL * (329433)
Case: 21-60626 Document: 433-2 Page: 2

Date Filed: 05/08/2024

No. 21-60626, Alliance for Fair Board Recruitment; National Center for Public
Policy Research v. Securities and Exchange Commission

CERTIFICATE OF INTERESTED PERSONS

The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.2 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluation possible disqualifications or recusal.

Petitioners
Alliance for Fair Board Recruitment
National Center for Public Policy Research

Counsel for Petitioners

Jonathan Berry, Boyden Gray & Associates

R. Trent McCotter, Boyden Gray & Associates
Michael Buschbacher, Boyden Gray & Associates
Jared Kelson, Boyden Gray & Associates

James R. Conde, Boyden Gray & Associates
Mark Chenoweth, New Civil Liberties Alliance
Margaret A. Little, New Civil Liberties Alliance
Sheng Tao Li, New Civil Liberties Alliance

Respondent
U.S. Securities and Exchange Commission

Counsel for Respondent

Megan Barbero, U.S. Securities and Exchange Commission
Michael A. Conley, U.S. Securities and Exchange Commission
Daniel Matro, U.S. Securities and Exchange Commission
Tracey A. Hardin, U.S. Securities and Exchange Commission
John Robert Rady, U.S. Securities and Exchange Commission
Case: 21-60626 Document: 433-2 Page:3 Date Filed: 05/08/2024

Intervenor
Nasdaq Stock Market, L.L.C.

Counsel for Intervenor

Allyson Newton Ho, Gibson, Dunn & Crutcher, L.L-P.
Seth D. Berlin, Ballard Spahr, L.L-.P.

Bradley G. Hubbard, Gibson, Dunn & Crutcher, L.L-P.
Stephen J. Kastenberg, Ballard Spahr, L.L-P.

Paul Lantieri, III, Ballard Spahr, L.L.P.

Paulette Miniter, Gibson, Dunn & Crutcher, L.L-.P.
Joanne Pedone, Nasdaq Incorporated

Amalia E. Reiss, Gibson, Dunn & Crutcher, L.L-.P.
Amr C. Tayrani, Gibson, Dunn & Crutcher, L.L.P.
John Yetter, Nasdaq, Incorporated

John Zecca, Nasdaq, Incorporated

Amicus Curiae Cory R. Liu

Counsel for Amicus Curiae Cory R. Liu

Devon Westhill, Center for Equal Opportunity

Daniel I. Morenoff, American Civil Rights Project

Joseph A. Bingham, American Civil Rights Project

State Amici Curiae in Support of Petitioners

State of Arizona, State of Alabama, State of Alaska, State of Arkansas,
State of Florida, State of Georgia, State of Idaho, State of Indiana, State
of Iowa, State of Kansas, State of Kentucky, State of Louisiana, State of
Mississippi, State of Missouri, State of Montana, State of Nebraska,
State of North Dakota, State of Ohio, State of Oklahoma, State of South
Carolina, State of South Dakota, State of Tennessee, State of Texas,
State of Utah, State of Virginia, State of West Virginia

Counsel for State Amici

Drew C. Ensign, Holtzman Vogel Baran Torchinsky & Josefiak, PLLC
Sean D. Reyes, Office of the Utah Attorney General

Stanford E. Pursuer, Office of the Utah Attorney General

Christopher A. Bates, Office of the Utah Attorney General

Amicus Curiae Buckeye Institute

il
Case: 21-60626 Document: 433-2 Page:4 Date Filed: 05/08/2024

Counsel for Amicus Curiae Buckeye Institute
Jay R. Carson, Buckeye Institute

David C. Tyron, Buckeye Institute

Alex M. Certo, Buckeye Institute

John J. Park Jr.

Amicus Curiae Advancing American Freedom, Inc. et al.

Counsel for Advancing American Freedom, Inc. et al.
J. Mare Wheat, Advancing American Freedom, Inc.
Timothy Harper, Advancing American Freedom, Inc.
Ilya Shapiro, Manhattan Institute

Tim Rosenberger, Manhattan Institute

Amici Curiae Nonpartisan Group of Academics and Petitioners in the Field of
Corporate Governance* in Support of Respondent

Counsel for Nonpartisan Group of Academics and Petitioners in the Field of
Corporate Governance

Marc Wolinsky, Wachtell, Lipton, Rosen & Katz

Elaine P. Golin, Wachtell, Lipton, Rosen & Katz

Carrie M. Reilly, Wachtell, Lipton, Rosen & Katz

Kevin S. Schwartz, Wachtell, Lipton, Rosen & Katz

Jeohn Salone Favors, Wachtell, Lipton, Rosen & Katz

Amici Curiae Investors and Investment Advisers in Support of Respondent
Council of Institutional Investors

Investment Adviser Association

Northern Trust Investments, Incorporated

Ariel Investments, L.L.C.

Boston Trust Walden Company

Lord, Abett & Company, L.L.C.

Gaingels, Incorporated

Robert F. Kennedy Center for Justice & Human Rights

Counsel for Amici Curiae Investors and Investment Advisers
Neal S. Manne, Susman Godfrey L.L.P.
Seven M. Shepard, Susman Godfrey L.L-P.

Arun Subramanian, Susman Godfrey L.L.P.

ili
Case: 21-60626 Document: 433-2 Page:5 Date Filed: 05/06/2024

Amicus Curiae Financial Industry Regulatory Authority, Inc. in Support of
Respondent

Counsel for Amicus Curiae Financial Industry Regulatory Authority, Inc.
Aaron Streett, Baker Botts L.L.P.
Elisabeth Butler, Baker Botts L.L.P.

Amici Curiae Ad Hoc Coalition of Nasdaq-Listed Companies in Support of
Respondent

Counsel for Amici Curiae Ad Hoc Coalition of Nasdag-Listed Companies
Pratik Shah, Akin Gump Strauss Hauer & Feld LLP
Juliana DeVries, Akin Gump Strauss Hauer & Feld LLP

Amicus Curiae American Civil Liberties Union

Counsel for Amicus Curiae American Civil Liberties Union
Brian Hauss, American Civil Liberties Union
Sandra S. Park, American Civil Liberties Union

Amicus Curiae Sean J. Griffith

Counsel for Amicus Curiae Sean J. Griffith
Heather Gebelin Hacker, Hacker Stephens LLP

Amicus Curiae Interfaith Center on Corporate Responsibility

Counsel for Amicus Curiae Interfaith Center on Corporate Responsibility
Beth-Ann Roth, R|K Invest Law, PBC
Richard A. Kirby, R\K Invest Law, PBC

Amici Curiae Academic Experts in the Fields of Business, Management, and
Economics in Support of Respondent

Gennaro Bernile

Douglas Cumming

Daniel P. Forbes

Aida Sijamic Wahid

Scott E. Yonker

Iv
Case: 21-60626 Document: 433-2 Page:6 Date Filed: 05/06/2024

K.J. Martijn Cremers
Amy Hillman

Frances J. Milliken
Quinetta M. Roberson

Counsel for Amici Curiae Academic Experts in the Fields of Business,
Management and Economics

Victoria Nugent, Democracy Forward Foundation

Aman T. George, Democracy Forward Foundation

Peter C. Renn, Lambda Legal Defense and Education Fund, Inc.

Karen L. Loewy, Lambda Legal Defense and Education Fund, Inc.

Dated: May 6, 2024 Respectfully submitted,

/s/ Steven M. Shepard

Steven M. Shepard

SUSMAN GODFREY L.L.-P.
One Manhattan West, 50th Floor
New York, NY 10001

Phone: (212) 336-8330
sshepard@susmangodfrey.com

Counsel for Amicus Curiae
Case: 21-60626 Document: 433-2 Page:7 Date Filed: 05/06/2024

TABLE OF CONTENTS

TABLE OF AUTHORITIES ...22.0..oocc ccc cceeccceec cece cceec cece cceeceeeeeeeeseeceneesetseeeesseeeees Vil
INTEREST OF AMICUS CURTAE 00.2.2... ..00.cccccccccccecccccec cence eeeeeeeeeseeceseeeeiseeetsseensseess 1
INTRODUCTION 0000.0... ococccccccccecceecc cece cence cece cceeeeccesecceseeceseeesesceeeseeenseeessseeeseeensseess 3
ARGUMENT 0.2... .cccccccccceccccesccceeccceccceeeeceeeeececeseeceseeceseeceeeeesseeeseeeseeseesseeeteeesseees 4
I. Petitioners Mischaracterize the Diversity Rules’
Requirements ............00cecceccccceeeesececeeeenseceeeeeeseeeecesessseeeesesstsseeeetenseeeees 4

Il. The Exchange Act Does Not Limit Disclosure Requirements
to Material Information .2..0.00.. 00.000 c cece ccc eeeneeeeeesenteeeesentnseeeeees 9

A. — The Statutory Text Nowhere Limits Disclosure
Requirements to “Material” Information...............000.000. 10

B. —Materiality is Not Limited to “Investment Factors” or
“Quantitative Considerations.” ..................e cece eeeecececeeeeeeeeeeeeeeees 13

Ill. The Diversity Rules Satisfy the Exchange Act Provisions

Regarding SEC Approval of Exchange Rules.......00000000ee ees 17
CONCLUSION ..02 ooo. ccc cece ccc eecc cee c cece cc cececceeecceeeeeeeeeceeseecsseeeeseeceseeeeneeteeseeteseeetssee: 21
CERTIFICATE OF COMPLIANCE .....000..00...000.cccccccccceeccceescceeeecceeeeeeeeeeeseeeeeseeeeeee: 24
CERTIFICATE OF SERVICE -.000..200. 200. ccccccccccceeecceeecceeececesceeeeeeceeeeeeetesseeteseeeesee: 25

v1
Case: 21-60626 Document: 433-2 Page:8 Date Filed: 05/08/2024

TABLE OF AUTHORITIES

Page(s)

Cases
Alexander v. Sandoval,

532 U.S. 275 (2001)... cece ec cecec ce ceec cee eeecceeseeeeeeeeeeeeeeeseeeeesseeeeesseeeeeseeetessees 12
Dillon v. Berg,

326 F. Supp. 1214 (D. Del.), aff'd, 453 F.2d 876 (3d Cir. 1971)... 14
Nat. Res. Def. Council, Inc. v. Sec. & Exch. Comm’n,

606 F.2d 1031 (D.C._Cir. 1979) ooo... ccceccccceecc cece cc ceeececeeeeceeeeeeeeeeseeeeteeeeteneees 12
Newcastle Partners, L.P. v. Vesta Ins. Grp., Inc.,

887 A.2d 975 (Del. Ch.), aff'd, 906 A.2d 807 (Del. 2005) ......00.eeeeeeeee: 14
Resnik v. Woertz,

774 F. Supp. 2d 614 (D. Del. 2011) 0.2... ccee cece cece ceeeee eee eeceeteeeteeeeteees 14
Spanakos v. Pate,

237 A.3d 809 (Del. 2020) 22.2... ccceecc cece ce cceeccceeecceeeecceceeececeeeeeeeesseceeeseeeeessseeetees 14
TSC Industries, Inc. v. Northway, Inc.,

426 U.S. 438 (1976) oo... o cece ec cccec cc ceec ce ceeec cece ee ceceseeeceseeeceseececeeseeeeesseeeseees 14,15
United Sav. Ass’n of Tex. V. Timbers Inwood Forest Assocs. Ltd.,

484 US. 365 (1988) ooo cece cece cceec cece eceee cece eeeeesceceseeeeseeteseeenseeessseseseeeeses 4
Statutes
Securities Act of 1933, ISUS.C.§ 7a)... tt cette eetneeeeees 12
Securities Act of 1933, ISU.S._C. S11) ooo eeeeeeeeeeeeeeeeeeeeeeeeeeees 10
Securities Exchange Act of 1934, 1S U.S.C. § 6(b) 200. eects 4
Securities Exchange Act of 1934, 1S US. C. § 23(e)(2) oo eeeeeeee ee 4
Securities Exchange Act of 1934, 15 U.S.C. § 77aa 00. ... coe ceeee cece eee eect eee 11
Securities Exchange Act of 1934, 15 U_S.C. § 77g(a)QL) 00.2... 12

Vil
Case: 21-60626 Document: 433-2 Page:9 Date Filed: 05/06/2024

Securities Exchange Act of 1934, 15 U.S.C. § 77k(a) 2000... cece eeeeeeee cece eee es 10
Securities Exchange Act of 1934, 1S US.C. § 78c(f) ooo eee 21
Securities Exchange Act of 1934, 15 U.S.C. § 78f(b) -00.... ooo eeeeee eee 17
Securities Exchange Act of 1934, 15 US.C. § 78f(D)(8) ooo. eect 19
Securities Exchange Act of 1934, 15 U.S.C. § 78n(a) 2002... eeeeeee cette tees 14
Other Authorities
17 CER. § 240. 14a-9(a) ooo... cocci cece ce ccc eeee cence cee ee cece ceeeeeceeeeeeseeeeseeeteseettseeeneee: 15
17 CLF.R. § Pt. 211, Subpt. Bro... c cece cece cece ec eee ec ceeeeeeeeeeeeeeteseeeeeee: 16
64 Fed. Reg. 45.150 (Aug. 12, 1999) ooo. .ociceccccec cece cece cence ceeeceeeeeeetseeetseeeeesetees 16
Brief of Investors and Investment Advisers as Amici Curiae, No. 21-

60626 (filed Feb. 24, 2022) o2...0occcccececec cece ceeccceeccceeeeeececeeseeeeseeeeseeeesseeeneeeeeees 18

Usha Rodrigues, Dictation and Delegation in Securities Regulation,
92 Ind. L.J. 453 (2017) once cece cece ccececceeeceeceeseeeceeececeseeeeseeseseeeeneeeeees 12

Vill
Case: 21-60626 Document: 433-2 Page:10 Date Filed: 05/06/2024

INTEREST OF AMICUS CURIAE
Joseph A. Grundfest, Esq., is the William A, Franke Professor of Law and

Business at Stanford Law School (emeritus). He served as a Commissioner of the
United States Securities and Exchange Commission from 1985 to 1990. He is a
leading authority in the fields of securities and corporate law. His scholarship has
been published in the Harvard, Yale, and Stanford Law reviews, among other
leading journals. He has for decades taught securities regulation, including analyses
of the relationship between SEC and Exchange regulation, both to law students and
to corporate counsel and executives as part of professional education programs.
Professor Grundfest has been recognized as among the nation’s most influential
attorneys and leading authorities on corporate governance.

Professor Grundfest’s scholarship and pedagogy relating to Exchange
regulation is amplified by his real-world experience as a director, and audit
committee member or chair, of three publicly traded corporations, two of which were
Nasdaq-listed at the time of Professor Grundfest’s board service: Oracle Corp., KKR
& Co. Inc., and Financial Engines, Inc.

Professor Grundfest thus addresses the question presented from the
perspective of a director of a listed corporation subject to the challenged Diversity

Rules, as well as from the perspective of an academic expert in the field.
Case: 21-60626 Document: 433-2 Page:11 Date Filed: 05/06/2024

All parties to this case have consented to the filing of this amicus brief.
No party or its counsel authored this brief or contributed money to fund the

preparation and submission of this brief.
Case: 21-60626 Document: 433-2 Page:12 Date Filed: 05/08/2024

INTRODUCTION

Petitioners attack a strawman. They mischaracterize the Diversity Rules by
incorrectly claiming that the Rules mandate quotas; require that listed companies
impose labels on their directors; and compel directors to divulge gender and
demographic information. None of these characterizations are accurate. Petitioners
thus challenge Rules that Nasdaq never proposed and that the Commission never
approved. Indeed, these mischaracterizations are foundational because Petitioners
implicitly recognize that their objections fail if lodged against the Rules as written.
Their challenge fails for this reason alone.

Petitioners’ next error is their contention that Nasdaq’s and the Commission’s
authority is limited to disclosure rules that apply exclusively to “material”
information—a concept that Petitioners mischaracterize to mean only financial
information relating to “quantitative considerations.” Alliance for Fair Board
Recruitment (“Alliance”) En Banc Br. 60; see National Center for Public Policy
Research (““NCPPR”) En Banc Br. 25 (claiming SEC rulemaking is limited to
information related to “financial returns on investments” and “decision[s] to
invest’). The statute’s plain text, legal precedent, and Commission regulations all
powerfully reject this proposition. The Commission and Exchanges are authorized

by statute to require disclosure of non-material information. Imposing a materiality
Case: 21-60626 Document: 433-2 Page:13 Date Filed: 05/06/2024

constraint would cause nothing less than a tectonic shift in a disclosure regime that
has worked well for decades.

Petitioners’ materiality analysis is additionally flawed because, even if a
materiality constraint is incorrectly applied, the record establishes that the Diversity
Rules do call for material disclosures. Many of the world’s largest and most
sophisticated investors consider overall board diversity information when casting
their proxy votes. A minimalist resolution of this question could thus conclude that
the Rules do call for disclosure of material information, and then not need to address
the incorrect claim that a materiality constraint applies.

Construed as written, and not as imagined, the Rules also easily satisfy the
requirements of Section 6(b) of the Exchange Act.

ARGUMENT
I. Petitioners Mischaracterize the Diversity Rules’ Requirements

Justice Scalia, writing for the Court, explained that “statutory construction...
is a holistic endeavor.” United Sav. Ass’n of Tex. v. Timbers of Inwood Forest

Assocs., Ltd., 484 U.S. 365.371 (1988). The same is true for construing the Diversity

Rules. Requirements and exemptions go hand in hand. Courts cannot squint at text
by focusing on requirements while ignoring exemptions. That is not holistic

analysis.
Case: 21-60626 Document: 433-2 Page:14 Date Filed: 05/06/2024

Petitioners hide from the Rules’ exemptions because the exemptions are fatal
to large portions of Petitioners’ critique. For their arguments to gain traction,
Petitioners must imagine Rules that operate very differently from the actual Rules
proposed by Nasdaq and approved by the Commission. Petitioners thus ask that this
Court vacate Rules that Nasdaq never proposed and that the Commission never
approved.

For example, NCPPR describes the Diversity Rules as

[R]Jequir[ing] companies listed on the Nasdaq Stock Exchange (“Nasdaq”) to

disclose the race, gender, and sexuality of their directors and to ensure their

boards of directors satisfy quotas for those characteristics. Any company that
fails to meet these race, gender, and sexuality quotas must publicly explain
why it has fallen short of this government-approved requirement. Companies
that fail to meet these disclosure and quota requirements are subject to the
draconian penalty of delisting from Nasdaq.

NCPPR En Banc Brief at 1. Similarly, Alliance claims that the Rules “require[] the

disclosure of controversial information,” Alliance En Banc Br. at 1, and “require[ ]

companies to discriminate based on race, sex, and sexual orientation,” id. at 13.
These materially inaccurate descriptions ignore the central fact that the Rules

only require the listed company to disclose its directors’ “voluntary self-identified

characteristics.”’ The Rules’ “Instructions” expressly permit individual directors to

‘ Rule 5606 (emphasis added).
Case: 21-60626 Document: 433-2 Page:15 Date Filed: 05/06/2024

“choose[] not to disclose” how they self-identify.”? Listed companies are not required
to provide information that directors “choose not to disclose.” The required matrix
includes a separate column and a separate row that the listed company uses to report
the total number of directors who “did not disclose” to the company how they self-
identified.* The Rules thus allow for continued listing of companies that fail to
disclose any diversity information about any of their directors; that maintain entirely
non-diverse boards; and that “explain” this state of affairs by stating that the
company disapproves of the entire diversity agenda. To put the matter bluntly,
Nasdagq-listed companies can have all-male, all-Caucasian boards; never state that
their boards are all-male and all-Caucasian; give no meaningful explanation for that
board composition; and they still will not be delisted.

The Rules operate as follows:

1. The listed company surveys its board. The listed company must ask its
directors how they “se/f-identif[y].’* The Rules do not require the listed company
to provide its own description of how the company characterizes the director.

2. Individual directors respond to the listed company—and can decline to

provide gender or demographic information. The Rules do not require directors to

Nasdaq, Board Diversity Matrix Instructions and Templates § 4, last updated June
6, 2023, available at https://perma.cc/Z4B5-RJRS (last viewed on May 1, 2024).

> Rule 5606.

* Id. (emphasis added).

Case: 21-60626 Document: 433-2 Page:16 Date Filed: 05/06/2024

provide information in response to the listed company’s survey. Nasdaq emphasizes
that each director’s response is to be “‘voluntary.”° Nasdaq’s instructions emphasize
that directors are free to “choose[] not to disclose” how they self-identify.°

3. The listed company must report the overall results of its survey. The listed
company must tally the directors’ responses and then report, in an aggregated
“matrix” format defined by Rule 5606, the total number of directors who self-
identified in each category. Individual directors’ responses are not reported; only the
aggregate totals are reported. And the matrix contains separate categories for
directors who “did not disclose” self-identifications.’ The diversity information
reported by the listed company is therefore entirely derivative of and conditional on
individual directors’ disclosure decisions, including individual directors’ decisions
to decline to provide gender or demographic information. The listed company is not
required to provide its own characterization of any director’s gender or demographic
information.

4. The listed company may be required to include an “explanation”—which

can be entirely anodyne and still not cause delisting. If the listed company’s matrix

> Id. (emphasis added).

° Nasdaq, Board Diversity Matrix Instructions and Templates § 4, last updated June
6, 2023, available at https://perma.cc/Z4B5-RJRS (last viewed on May 1, 2024).

7 Rule 5606.

Case: 21-60626 Document: 433-2 Page:17 Date Filed: 05/06/2024

reports fewer directors self-identifying as diverse than the applicable number set
forth in Rule 5605(f)(2), then the listed company must provide an “explanation” that
can be entirely anodyne. Nasdaq “will not assess the substance of” the explanation,
and the listed company can “disclose as much, or as little, insight into the company’s
circumstances or diversity philosophy as the company determines.” John Zecca,
Letter to Vanessa Countryman, at 7 & 8 (Feb. 26, 2021).® The listed company can
even satisfy the “explanation” requirement with a single sentence that expresses
disagreement with the Diversity Rules. If the listed company’s explanation states (in
total) that “The Company does not meet the diversity objectives of Rule
5605(f)(2)(C) because it does not believe Nasdaq’s listing rule is appropriate,” then
that would satisfy the listed company’s obligation and it would not be delisted. Jd.
Other anodyne (and acceptable) explanations include the following:
e “The Company does not meet the diversity objectives of Rule
5605(f)(2)(A) because the Nominations Committee considers a variety
of professional, industry, and personal backgrounds and skill sets to

provide the Board with the appropriate talent, skills, and expertise to
oversee the Company’s business.”

e “{The company] is committed to ensuring that the Board’s composition
appropriately reflects the current and anticipated needs of the Board and
the company.”

§  https://www.sec.gov/comments/sr-nasdaq-2020-08 1/srnasdag202008 1-8425992-
229601.pdf.
8
Case: 21-60626 Document: 433-2 Page:18 Date Filed: 05/06/2024

e “{[The company] does not believe achieving Nasdaq’s diversity
objectives are feasible given the company’s current circumstances.”

Id.

The Diversity Rules thus permit a listed company: (1) to have an entirely non-
diverse board; (2) to provide a matrix containing no board diversity information (if
each director declines to provide that information); and (3) to explain that matrix by
stating that it rejects the entire exercise as inappropriate, or by explaining that its
board has determined that its “composition appropriately reflects” the Company’s
“needs.” Id.

Petitioners would have this Court believe that a listed company so
contumacious of the Diversity Rules would be delisted. That is simply not true, and
that rendition of the Rules’ operation distorts the plain language of the text.
Petitioners thus dramatically and strategically distort what the Rules actually
require, and exaggerate the magnitude of compulsion inherent in the Rules. Indeed,
this exaggeration is a necessary foundation for many of the challenges Petitioners
lodge against the SEC’s approval.

Il. The Exchange Act Does Not Limit Disclosure Requirements to Material
Information

Petitioners next claim that the Exchange Act limits disclosure rules to only
“material” information—by which they mean, “financially material” and

“quantitative” information. Alliance En Banc Br. 60; see NCPPR En Bane Br. 25
Case: 21-60626 Document: 433-2 Page:19 Date Filed: 05/06/2024

(claiming the Exchange Act limits disclosure rules to information related to
“financial returns on investments” and “decision[s] to invest”). Both propositions
are demonstrably incorrect. The Exchange Act’s disclosure rules are not constrained
solely to “material” matters and the concept of “materiality” is not limited solely to
“financial” or “quantitative” information.

A. The Statutory Text Nowhere Limits Disclosure Requirements to
“Material” Information

Petitioners’ first mistake is claiming that the Exchange Act limits disclosure
rules only to material information. Alliance En Banc Br. 58-60; NCPPR En Banc
Br. at 25-26. Petitioners cite no direct statutory support for one simple reason. No
such support exists.

The Exchange Act nowhere limits disclosure requirements to solely requiring
disclosure of “material” information. To the contrary, when Congress adopted the
Securities Act in 1933 it expressly commanded disclosure of immaterial information
and did not amend that requirement when it adopted the Exchange Act in 1934. Nor
has Congress modified that command on the numerous subsequent occasions when
it has amended the federal securities laws.

Petitioners ask that this Court rewrite federal securities law to impose a
constraint Congress never intended, that would conflict with express statutory

provisions, and that would cause a dramatic change in the entire structure of federal

10
Case: 21-60626 Document: 433-2 Page:20 Date Filed: 05/06/2024

securities law. They ask that this Court impose a materiality constraint that was
never enacted by Congress and that would raise separation-of-powers concerns.
Congress clearly knew in 1933 and 1934 how to impose materiality
constraints. Section 11(a) of the Securities Act of 1933 imposes civil liability for
any “untrue statement of a material fact” in a registration statement, or for omission

of “a material fact” from that statement. 15 U.S.C. § 77k(a) (emphasis added).

Congress did so again in Section 17(a)(2), which makes it “unlawful” to “obtain
money or property by means of any untrue statement of a material fact or any
omission to state a material fact.” Id. § 77q(a)(2) (emphasis added).

But when it came to disclosure requirements, Congress imposed no such
materiality requirement. Indeed, Congress commanded immaterial disclosures in
Schedule A of the Securities Act of 1933.° To this day, the Commission’s integrated
disclosure regime is based on Schedule A, which prescribes 32 categories of
information that must be included in registration statements. Several Schedule A
items require immaterial disclosures. Item 17 requires disclosure of “all
commissions or discounts paid” by the issuer to underwriters—even if the amounts
are trivial. Item 18 calls for disclosure of all expenses “in connection with the sale

of the security to be offered,” even if the expenses are de minimis. Item 20 compels

° Pub. L. No. 73-22, 73 Cong. Ch. 38, May 27, 1933, 48 Stat. 74, Schedule A.
Schedule A is currently codified at 1S U.S.C. § 77aa.
11

Case: 21-60626 Document: 433-2 Page:21 Date Filed: 05/06/2024

disclosure of “any amount paid within two years preceding the filing of the
registration statement” to “any promoter,” no matter how small. The claim that
Congress intended to limit disclosure requirements only to material information
thus contradicts Schedule A’s plain text.

Congress also authorized the Commission to mandate disclosure of “such
other information . . . as the Commission may by rules or regulations require as
being necessary or appropriate in the public interest or for the protection of

investors.” Securities Act of 1933, § 7(a)(1), now codified at 1S U.S.C. § 77g(a)(1).

This delegation also has no materiality constraint, just as Schedule A has no
materiality constraint. Thus, “the Commission has been vested by Congress with
broad discretionary powers to promulgate (or not to promulgate) rules requiring

99

disclosure of information beyond that specifically required by statute,” with no
materiality requirement. Nat. Res. Def: Council, Inc. v. Sec. & Exch. Comm’n, 606

F.2d 1031. 1045 (D.C.Cir. 1979).

The federal securities laws have been frequently amended.’° None of those
many amendments have ever imposed materiality constraints on the Commission’s
or the Exchanges’ disclosure rules. If such constraints are to be imposed, the

imposition should come from our elected representatives in Congress and not be

© Usha Rodrigues, Dictation and Delegation in Securities Regulation, 92 Ind. L.J.
435 (2017).
12
Case: 21-60626 Document: 433-2 Page:22 Date Filed: 05/06/2024

invented by the courts. Indeed, Congress is currently considering legislation that
would impose a materiality restriction on mandatory disclosure requirements.!! If
the current law is as Petitioners claim, this legislation would be superfluous. But the
law is not as Petitioners claim, and just as the courts should not imply private rights
of action never intended by Congress, see Alexander v. Sandoval, 532 U.S. 275, 289
(2001), so too courts should not apply materiality restrictions never intended by
Congress, particularly when a sitting Congress is debating precisely those
questions.

B. Materiality is Not Limited to “Investment Factors” or
“Quantitative Considerations.”

Petitioners compound their error by claiming that “material” information is
limited solely to information relevant to “investment decisions.” NCPPR claims that
diversity information is not “material” because it “ha[s] no relevance to investment
returns.” NCPPR En Banc Br. 2; id. at 25-26 (claiming that information is only
material if it would be considered important in “making a decision to invest’).
Alliance goes even further and states that “materiality” is limited to so-called
“quantitative considerations”:

The SEC itself has said that, outside the narrow realm of unlawful behavior
or misstatements, materiality is triggered by “quantitative considerations” like

‘! Mandatory Materiality Requirement Act of 2023, S. 2005, 118th Congress (2023-
2024), https://www.congress.gov/bill/118th-congress/senate-bill/2005/text.
13
Case: 21-60626 Document: 433-2 Page:23 Date Filed: 05/08/2024

profit, loss, and revenue—things that the SEC just concluded have no
demonstrable link to “diversity.”

Alliance En Banc Br. 60.

This narrow characterization of “materiality” overlooks the fact that
stockholders are not solely investors who seek an investment return on their capital.
They are also owners of the listed company with statutory rights to vote at
shareholder meetings on many matters, including matters entirely unrelated to
financial returns.'* Section 14(a) of the Exchange Act expressly protects investor
rights to receive information when exercising the corporate franchise in any context,
including votes relating to matters that are not related to financial returns.*°

Ironically, Petitioners rely extensively on TSC Industries, Inc. v. Northway,

Inc., 426 U.S. 438 (1976), a decision holding that voting information is material and

does not restrict the definition of materiality to financial information. Stockholder

'2 “The shareholder meeting to elect directors is a cornerstone of Delaware corporate
law, and stockholders’ entitlement to such a meeting is paramount.” Spanakos v.
Pate, 237 A.3d 809, 815 (Del. 2020) (cleaned up); Newcastle Partners, L.P. v. Vesta
Ins. Grp., Inc., 887 A.2d 975, 977 (Del. Ch.) (ordering company to hold annual
meeting, even though audited financial statements were not yet available), aff'd,
906 A.2d 807 (Del. 2005).

 ISUS.C. § 78n(a):; see, e.g., Resnik v. Woertz, 774 F. Supp. 2d 614, 631 (D. Del.
2011) (details of a compensation plan for company’s consultants and advisors was a
“material” issue because “ta reasonable shareholder would consider it important in
deciding how to vote”); Dillon v. Berg, 326 F. Supp. 1214. 1233 (D. Del.), aff'd, 453
F.2d 876. 877 (3d Cir. 1971) (proxy statement’s incorrect description of director’s
status was “material” because the statement claimed that the director “had resigned,”
but this “purported resignation” was “not effective” under the company’s by-laws).

14

Case: 21-60626 Document: 433-2 Page:24 Date Filed: 05/06/2024

plaintiffs in TSC alleged that a proxy statement about a proposed sale of the
company was materially misleading in violation of Section 14(a) of the Exchange
Act. The Supreme Court held that information is “material” if it pertains to any
voting decision—not solely investment decisions: “an omitted fact is material if
there is a substantial likelihood that a reasonable shareholder would consider it
important in deciding how to vote.” Jd. at 449. “Materiality” does “not require proof
of a substantial likelihood that disclosure of the omitted fact would have caused the
reasonable investor to change his vote.” Jd.

A disclosure is therefore material if it significantly influences a voting
decision. The information need not implicate an investment decision or involve a
matter of financial importance. The matter’s influence also does not need to be so
significant that it causes even a single stockholder to “change his vote.” Jd. The
information need only be a significant element of the decision process by which
stockholders decide how to vote.

Petitioners cite TSC as though it limits the scope of Commission rulemaking
authority or the Commission’s ability to approve Exchange disclosure rules. Not so.
TSC addresses an alleged proxy fraud and nowhere addresses the Commission’s
rulemaking authority. If anything, TSC accepts, as given, the Commission’s
authority to adopt Rule 14a-9, which implements Section 14 by forbidding proxy

statements from containing any statement that is “false or misleading with respect

15
Case: 21-60626 Document: 433-2 Page:25 Date Filed: 05/06/2024

to any material fact.” 17 C.F.R. § 240.14a-9(a). TSC nowhere suggests that the

Commission’s disclosure requirements must be limited to material matters. TSC thus
defines “materiality” while never imposing materiality as a constraint on all
disclosure requirements, and never limiting materiality to financial or investment
considerations.

Alliance also incorrectly asserts that the “SEC itself has said
that . . . materiality is triggered by ‘quantitative considerations’ like ‘profit, loss, and
revenue.” Alliance En Banc Br. 60. On the contrary, the Commission’s staff has
repeatedly repudiated this position by emphasizing that gualitative information can
also be material. In 1999 the Commission’s staff issued Accounting Bulletin 99 titled
“Materiality” to address just this point. SEC Staff Accounting Bulletin: No. 99 —

Materiality, Release No. SAB 99, 64 Fed. Reg. 45.150 (Aug. 12, 1999).'* That

bulletin unequivocally states that:

[Financial management and the auditor must consider both “quantitative” and
“qualitative” factors in assessing an item’s materiality. Court decisions,
Commission rules and enforcement actions, and accounting and auditing
literature have all considered “qualitative” factors in various contexts.

4 The bulletin is also available on the SEC’s’ website here:
https://www.sec.gov/interps/account/sab99.htm. It continues to be listed in the Code
of Federal Regulations at 17 C.F.R. § Pt. 211, Subpt. B.

16
Case: 21-60626 Document: 433-2 Page:26 Date Filed: 05/08/2024

Id. at 45,151. Accordingly, “materiality cannot be reduced to a numerical formula.”
Id. “|E]xclusive reliance on .. . any percentage or numerical threshold has no basis
in the accounting literature or in the law.” Jd.

A more resounding repudiation of Alliance’s claim—that the SEC has limited

would be hard to craft.

“materiality” to “quantitative considerations”

Ill. The Diversity Rules Satisfy the Exchange Act Provisions Regarding
SEC Approval of Exchange Rules

The Diversity Rules—as properly construed, above—are entirely consistent
with Section 6(b)’s provisions governing SEC approval of Exchange rules. 15 U.S.C.
§ 78f(b). Section 6(b)’s text contains no requirement constraining an Exchange’s
rules to “material” or “quantitative” or “investment” matters. The statutory text is
instead very broad. The accompanying Senate Report accurately describes the
statutory text as setting forth “purposes and standards” rather than “subject matters”:

Under the bill the scope of the rule-making authority and responsibility of all

self-regulatory organizations would be defined in terms of purposes and

standards rather than subject matters.
S. Rep. 94-75, at 27-28, 1975 U.S.C.C.A.N. 179, at 206 (emphases added).

The SEC correctly found that the Diversity Rules are “designed to . . . remove
impediments to and to perfect the mechanism of a free and open market.” 15 U.S.C.
§ 78f(b)(S). The Rules do this by “mak[ing] consistent and comparable information

relating to the corporate governance of Nasdaq-listed companies (i.e., information

regarding board diversity) widely available on the same basis to investors, which
17
Case: 21-60626 Document: 433-2 Page:27 Date Filed: 05/06/2024

would increase efficiency for investors that gather and use this information.” SEC
Release No. 34-92590 (Aug. 6, 2021) (“Order”), at 57.

Many investors consider overall board diversity and the company’s
explanation for its board composition as relevant to their proxy voting decisions. As
documented in an amicus brief submitted to the panel in 2022, public statements by
investors and advisors with more than $18 trillion of assets under management attest
that board composition information is relevant to them. Brief of Investors and
Investment Advisers as Amici Curiae, No. 21-60626, at 9 (filed Feb. 24, 2022).

The Diversity Rules significantly reduce these investors’ search costs, and
thus “remove impediments to” and “perfect the mechanism” of the market, by
presenting information about overall board diversity in an easily accessible format.
Id. at 27. Without the matrix required by the Rules, this information can be very
difficult for investors to find. Jd. at 24-26 (describing the short time frame investors
typically have to assess overall board diversity before casting proxy votes, and
describing one amicus’s efforts to obtain information by “looking at photographs on
company websites’’).

Petitioners nowhere dispute the existence of investor demand for rules that
reduce search costs for information relating to board diversity. Nor do Petitioners
contend that the Diversity Rules will be ineffective in reducing those search costs.

Instead, Petitioners contend that investors are wrong to want this information in the

18
Case: 21-60626 Document: 433-2 Page:28 Date Filed: 05/06/2024

first instance. Petitioners are effectively asking this Court to rule as a matter of law
that managers with more than $18 trillion under management are behaving
“irrational[ly].”” See NCPPR En Banc Br. at 31.

The market for investment-management services is a better gauge of
“rational” behavior than legal arguments by lawyers. Congress wisely left these
disputes to be resolved through market competition. It’s not the job of the
Commission, or of this Court, to tell investors how they should and shouldn’t invest
their money or cast proxy votes.

Nasdaq is a private entity that competes for listings with other Exchanges. Its
function is to enact rules that serve the evolving needs of the investors and
investment advisers who buy, sell, and vote the securities listed on Nasdaq’s
platforms, and to do so in a competitive manner that is responsive to, and that
balances investor interests with, listed company concerns. Whether Nasdaq succeeds
or fails in this mission is best determined by intermarket competition that allows
listed companies to list and delist in response to changes 1n listing standards.

Section 6(b)(8) requires that the Commission consider the rule’s impact on
competition, and prohibits the Commission from adopting rules that “impose any
burden on competition not necessary or appropriate in furtherance of the purposes

of” the Act. 15 U.S.C. § 78f(b)(8). But Petitioners never explain how the Diversity

Rules impose any burden “to competition” in the first place.

19
Case: 21-60626 Document: 433-2 Page:29 Date Filed: 05/06/2024

Indeed, the Diversity Rules are fully compliant with Section 6(b)(8) because
they enhance “competition,” and do not burden it. The Diversity Rules enhance
competition between issuers by making information about issuers’ overall board
diversity, and explanations for non-diversity, easier for investors to locate. See Order,
at 57 (finding that the rules will “increase efficiency for investors that gather and use
this information’). Petitioners dislike the fact that investors make decisions based
on this information, but Petitioners’ disapproval of investors’ choices does not
transform the Diversity Rules into a “burden” on “competition.”

A differentiated, voluntary approach to diversity disclosure, combined with
the free market, creates precisely the form of inter-market competition valued by
Congress. There is a robust competition between Exchanges, as the SEC correctly
pointed out:

No company is required to list on Nasdaq. Rather, exchanges compete for

listings, with four exchanges that currently list securities of operating

companies and nine exchanges that have rules for the listing of issuers on the
exchange. Listing exchanges compete with each other for listings in many
ways, including listing fees, listing standards, and listing services.

Order, at 17.

Inter-Exchange competition is the appropriate market-based solution to
Petitioners’ critiques of the Diversity Rules. If diversity disclosures add value,

Nasdaq will thrive. If the Rule imposes burdens that exceed benefits, Nasdaq will

suffer. If Nasdaq “gets it wrong” by adopting overly stringent Diversity Rules, then
20
Case: 21-60626 Document: 433-2 Page:30 Date Filed: 05/06/2024

listed companies can “vote with their feet” and relist on a competing Exchange. By
the same token, issuers listed on competing exchanges who prefer the Diversity
Rules’ informational efficiency can list on the Nasdaq market. This is the essence of
competition. These matters are best decided by markets, not by courts.

The Diversity Rules also satisfy 15 U.S.C. § 78c(f), which requires that,

whenever the Commission considers the “public interest” in rulemaking, it “shall
also consider, in addition to the protection of investors, whether the action will
promote efficiency, competition, and capital formulation.” The Diversity Rules’
standardization promotes efficiency in obtaining information; the Rules’

differentiation promotes competition between Exchanges; and the Rules’ reduction

of search costs promotes capital formation. The 15 U.S.C. § 78c(f) test is satisfied,
as the SEC correctly determined when it found no significant negative effects with
respect to any of these characteristics. Order, at 4n.14 & 51-54.

CONCLUSION

Petitioners attack a strawman version of the Diversity Rules, and not the
Diversity Rules that Nasdaq actually proposed and that the SEC actually approved.
The Diversity Rules nowhere compel self-identification by any director. They
impose no quotas. They allow a company to remain listed even if the company
provides no demographic information and “explains” this by expressing strong

disagreement with the Diversity Rules. The Exchange Act imposes no “materiality”

21
Case: 21-60626 Document: 433-2 Page:31 Date Filed: 05/06/2024

limitation on disclosure rules, and the Diversity Rules easily satisfy the requirements

that the Act actually does impose. The petitions should be denied.

22
Case: 21-60626

Dated: May 6, 2024

Document: 433-2

23

Page: 32 Date Filed: 05/08/2024

Respectfully submitted,

/s/ Steven M. Shepard
Steven M. Shepard

SUSMAN GODFREY L.L.P.

One Manhattan West, 50th Floor
New York, NY 10001

Phone: (212) 336-8330
sshepard@susmangodfrey.com

Counsel for Amicus Curiae
Case: 21-60626 Document: 433-2 Page:33 Date Filed: 05/06/2024

CERTIFICATE OF COMPLIANCE

Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that this

proposed brief complies with the type-volume limitation of Federal Rules of

Appellate Procedure 29(a)(5) and 32(a)(7) because the brief contains 4,497 words,

excluding those parts of the brief that are exempted by Federal Rule of Appellate

Procedure 32(f).

This brief complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) because it has been prepared in 14-point Times New
Roman Font.

/s/ Steven M. Shepard
Steven M. Shepard

24
Case: 21-60626 Document: 433-2 Page:34 Date Filed: 05/06/2024

CERTIFICATE OF SERVICE
I hereby certify that on May 6, 2024, I caused the foregoing proposed brief to
be electronically filed with the Clerk of the Court for the United States Court of
Appeals for the Fifth Circuit by using the CM/ECF system, which will effect
electronic service on all counsel of record.

/s/ Steven M. Shepard
Steven M. Shepard

25
